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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   MICHAEL MARTIN,

 9                               Plaintiff,                  CASE NO. 3:23-cv-05039-BHS-BAT

10           v.                                              ORDER STRIKING PLAINTIFF’S
                                                             MOTION TO AMEND THE
11   CHERYL STRANGE,                                         COMPLAINT WITH LEAVE TO
                                                             RENEW MOTION BY SEPTEMBER
12                               Defendant.                  15, 2023

13          Plaintiff filed a motion to amend the complaint. Dkt. 17. Defendant opposed the motion
14   because it did not, in accordance with Local Civil Rule 15, “attach a copy of the proposed
15   amended pleading as an exhibit to the motion.” Dkt. 19.
16          The Court STRIKES plaintiff’s motion to amend the complaint, Dkt. 17, with leave to
17   renew the motion by September 15, 2023. In addition to attaching a proposed, amended
18   complaint, plaintiff should address whether defendants are being sued in their individual and
19   official capacities. The proposed, amended complaint will serve as a substitute for, not a
20   supplement to, the original complaint; as such, it should set forth all of claims asserted. If the
21   Court grants leave to file the amended complaint, it will revise the pretrial deadlines accordingly.
22   See Dkt. 15.
23

     ORDER STRIKING PLAINTIFF’S MOTION
     TO AMEND THE COMPLAINT WITH
     LEAVE TO RENEW MOTION BY
     SEPTEMBER 15, 2023 - 1
          Case 3:23-cv-05039-BHS-BAT Document 21 Filed 08/25/23 Page 2 of 2




 1        DATED this 25th day of August, 2023.

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 3                                               A
                                                 BRIAN A. TSUCHIDA
 4                                               United States Magistrate Judge

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     ORDER STRIKING PLAINTIFF’S MOTION
     TO AMEND THE COMPLAINT WITH
     LEAVE TO RENEW MOTION BY
     SEPTEMBER 15, 2023 - 2
